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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA
                            NEW ORLEANS DIVISION

IN RE:       FEMA TRAILER                    *         MDL NO. 1873
             FORMALDEHYDE PRODUCTS *
             LIABILITY LITIGATION            *         SECTION “N” (5)
                                             *
                                             *         JUDGE ENGELHARDT
                                             *         MAGISTRATE CHASEZ
                                             *
THIS DOCUMENT PERTAINS TO                    *
                                             *
CIVIL CASE NOS. 09-7792, 09-7793, 09-7794, *
09-7795, 09-7796, 09-7797, 09-7798, 09-7799, *
09-7800, 09-7801, 09-7802, 09-7803, 09-7804, *
09-7805, 09-7806, 09-7807, 09-7808, 09-7809, *
09-7810, 09-7811, 09-7812, 09-7813, 09-7814, *
09-7815, 09-7816, 09-7817, 09-7818, 09-7819, *
09-7820, 09-7821, 09-7822, 09-7823, 09-7824, *
09-7825, 09-7826, 09-7827, 09-7828, 09-7829, *
09-7830, 09-7831, 09-7832, 09-7833, 09-7834, *
09-7835, 09-7836, 09-7837, 09-7838, 09-7839, *
09-7840, 09-7841, 09-7842, 09-7843, 09-7844, *
09-7845, 09-7846, 09-7847, 09-7848, 09-7849, *
09-7850, 09-7851, 09-7852, 09-7853, 09-7854, *
09-7855, 09-7856, 09-7857, 09-7858, 09-7859, *
09-7887, 09-7889, 09-7890, 09-7891, 09-7892, *
09-7893, 09-7894, 09-7895, 09-7896, 09-7897, *
09-7898, 09-7899, 09-7903, 09-7904, 09-7905, *
09-7906, 09-7907, 09-7908, 09-7909, 09-7910, *
09-7911, 09-7912, 09-7913, 09-7914, 09-7916, *
09-7917, 09-7918, 09-7919, 09-7920, 09-7921, *
09-7922, 09-7924, 09-7925, 09-7960, 09-7961, *
09-7962, 09-7963, 09-7964, 09-7965, 09-7966, *
09-7967, 09-7971, 09-7972, 09-7973, 09-7974, *
09-7977, 09-7978, 09-7980, 09-7983, 09-7984, *
09-7987, 09-7990, 09-7991                    *


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                      RULE 7.6 CERTIFICATE

      Pursuant to Local Rule 7.6, undersigned counsel for Plaintiffs certifies that liason

counsel for the Manufacturing Defendants has informed Plaintiffs’ counsel that they are

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not opposed this motion. The liason counselors for the Contracting Defendants and

Insurance Defendants have been contacted but have been unable to respond to date.

                                   Respectfully submitted,

                                   /s/ Robert C. Hilliard
                                   _____________________________
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                                     ATTORNEYS FOR PLAINTIFFS

                             CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading was served on all counsel
of record through electronic notification pursuant to the electronic filing in the United
States District Court for the Eastern District of Louisiana this 17th day of June, 2010.


                                         /s/ Robert C. Hilliard
                                         ____________________________
                                         ROBERT C. HILLIARD




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